             Case 1:20-mc-00147-GBD Document 2 Filed 03/11/20 Page 1 of 1




UNITED ST ATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------x
In re: PETITION OF JAIME DAVIDSON, SEEKING
AN ORDER DIRECTING FCI WILLIAMSBURG,                                                           ORDER
SALTERS, SC, TO PERMIT A POLYGRAPH
EXAMINATION OF JAIME DAVIDSON BY                                                          20 Misc. 147 (GBD)
POL YGRAPHIST ROBERT DRDAK.
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GEORGE B. DANIELS, United States District Judge:

          Pro bono counsel for Petitioner Jaime Davidson moves this Court for an order that FCI

Williamsburg, located in Salters, South Carolina, permit the polygraph examination of Petitioner.

          Counsel ' s application is made ex parte without any indication that the Warden of FCI

Williamsburg is aware of this application. Counsel also does not provide any legal basis for this

Court' s jurisdiction and authority to issue such an order against the South Carolina federal prison

where Petitioner is an inmate.

          The petition to issue an order directing FCI Williamsburg to permit Petitioner to take a

polygraph test is DENIED without prejudice. If counsel for Petitioner wishes to renew this

application in this District, it should be done on notice to the Warden of the institution, and with

supporting legal authority for such an order to be issued out of the Southern District of New York.


Dated: New York, New York
       March 11 , 2020
                                                                            SO ORDERED.
